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     1 SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
       John T. Jasnoch (281605)
     2 jjasnoch@scott-scott.com
       655 North Central Ave., 17th Floor
     3 Glendale, California 92103
       Telephone: 213-985-1274
     4 Facsimile: 213-985-1278

     5
         Francis A. Bottini, Jr. (175783)      Kip B. Shuman (145842)
     6   fbottini@bottinilaw.com               kip@shumanlawfirm.com
         Yury A. Kolesnikov (271173)           THE SHUMAN LAW FIRM
     7   ykolesnikov@bottinilaw.com            One Montgomery St., Suite 1800
         BOTTINI & BOTTINI, INC.               San Francisco, CA 94104
     8   7817 Ivanhoe Avenue, Suite 102        Telephone: 303-861-3003
     9   La Jolla, CA 92037                    Facsimile: 303-536-7849
         Telephone: 858-914-2001
    10   Facsimile: 858-914-2002
    11
         Co-Lead Counsel for Plaintiffs
    12
                              UNITED STATES DISTRICT COURT
    13                       CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
    14
         IN RE OSI SYSTEMS, INC.             Lead Case No. 14-cv-02910-MWF
    15   DERIVATIVE LITIGATION               (MRWx)
    16
                                             DERIVATIVE ACTION
    17   This Document Relates To:
                                             PLAINTIFFS’ UNOPPOSED NOTICE
    18          ALL ACTIONS                  OF MOTION AND MOTION FOR
    19                                       PRELIMINARY APPROVAL OF
                                             SETTLEMENT; MEMORANDUM OF
    20                                       POINTS AND AUTHORITIES IN
    21                                       SUPPORT THEREOF

    22                                       Date:        January 23, 2017
                                             Time:        10:00 a.m.
    23                                       Courtroom:   5A
    24                                       Judge:       Hon. Michael W. Fitzgerald

    25

    26

    27

    28
         PLAINTIFFS’ UNOPPOSED NOTICE OF MOTION AND MOTION FOR PRELIMINARY
         APPROVAL OF SETTLEMENT
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     1   TO: ALL PARTIES AND THEIR COUNSEL OF RECORD
     2          PLEASE TAKE NOTICE that on January 23, 2017, or at such other date
     3   and time as ordered by the Court, in Courtroom 5A of the United States District
     4   Court for the Central District of California, located at the First Street Courthouse,
     5   350 West First Street, Los Angeles, California 90012, Plaintiffs in the above-
     6   captioned shareholder derivative action (the “Action”) will appear before the
     7   Honorable Michael W. Fitzgerald to move (the “Motion”), pursuant to Rule 23.1 of
     8   the Federal Rules of Civil Procedure and Local Rule 7 for this District, for entry of
     9   an order granting preliminary approval of the Stipulation and Agreement of
    10   Settlement (the “Stipulation”)1 entered between and among the Parties to the Action.
    11          This Motion seeks an order (the “Preliminary Approval Order”)2: (a) granting
    12   preliminary approval of the settlement embodied within the Stipulation (the
    13   “Settlement”); (b) directing that notice of the Settlement (including the Fee Award
    14   Provision), be provided to current shareholders of OSI Systems, Inc., (“OSI”) in
    15   substantially the form and method agreed to by the Parties and as ordered by the
    16   Court; (c) setting the deadline and procedure for current OSI shareholders to file and
    17   serve objections, if any, to the proposed Settlement in a form and manner directed
    18   by the Court; and (d) setting a date for a hearing on a motion for final approval of
    19   the Settlement (the “Settlement Hearing”).
    20          This Motion is brought pursuant to the terms of the Stipulation, and
    21   accordingly, counsel for all Parties have conferred over a period of several months
    22   concerning the substance of this Motion pursuant to Local Rule 7-3.
    23
            1
    24
           The Stipulation is filed as Exhibit A to the Declaration of John T. Jasnoch in
       Support of Motion for Preliminary Approval of Settlement (the “Jasnoch
       Declaration”), filed contemporaneously herewith. All capitalized terms herein,
    25 unless otherwise defined, have the same meaning as set forth in the Stipulation.

    26      2
            The proposed Preliminary Approval Order is both filed with the Motion and
    27
       attached as Exhibit C to the Stipulation.

    28                                            2
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         DATED: December 9, 2016       Respectfully submitted,
     1
                                       SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
     2
                                       /s/ John T. Jasnoch
     3                                 John T. Jasnoch (CA 281605)
                                       jjasnoch@scott-scott.com
     4                                 655 North Central Ave., 17th Floor
                                       Glendale, CA 91203
     5                                 Telephone: 213-985-1274
                                       Facsimile: 213-985-1278
     6
                                       SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
     7                                 Judith S. Scolnick
                                       jscolnick@scott-scott.com
     8                                 Donald A. Broggi
                                       dbroggi@scott-scott.com
     9                                 Thomas L. Laughlin IV
                                       tlaughlin@scott-scott.com
    10                                 The Helmsley Building
                                       230 Park Avenue, 17th Floor
    11                                 New York, NY 10169
                                       Telephone: 212-223-6444
    12                                 Facsimile: 212-223-6334
    13                                 BOTTINI & BOTTINI, INC.
                                       Francis A. Bottini Jr. (SBN 175783)
    14                                 fbottini@bottinilaw.com
                                       Yury A. Kolesnikov (SBN 271173)
    15                                 ykolesnikov@bottinilaw.com
                                       7817 Ivanhoe Avenue, Suite 102
    16                                 La Jolla, CA 92037
                                       Telephone: 858-914-2001
    17                                 Facsimile: 858-914-2002
    18                                 THE SHUMAN LAW FIRM
                                       Kip B. Shuman (SBN 145842)
    19                                 Kip@shumanlawfirm.com
                                       1 Montgomery Street, Suite 1800
    20                                 San Francisco, California 94104
                                       Telephone: 303-861-3003
    21                                 Facsimile: 303-536-7849
    22                                 THE SHUMAN LAW FIRM
                                       Rusty E. Glenn
    23                                 Rusty@shumanlawfirm.com
                                       600 17th Street, Suite 2800 South
    24                                 Denver, Colorado 80202
                                       Telephone: 303-861-3003
    25                                 Facsimile: 303-536-7849
    26                                 Co-Lead Counsel for Plaintiffs
    27

    28                                          3
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     1                    MEMORANDUM OF POINTS AND AUTHORITIES
     2             Plaintiffs Marc Hagan (“Hagan”) and City of Irving Supplemental Benefit Plan
     3   (“City of Irving” and, together with Hagan, “Plaintiffs”), respectfully submit this
     4   memorandum of points and authorities in support of their Unopposed Motion for
     5   Preliminary Approval of Settlement.3
     6   I.        INTRODUCTION
     7             On November 23, 2016, Plaintiffs (including Jeffrey Kocen, the Delaware
     8   Plaintiff), Nominal Defendant OSI Systems, Inc. (“OSI” or the “Company”), and
     9   Deepak Chopra, William Ballhaus, David Feinberg, Steven Good, Meyer Luskin, Ajay
    10   Mehra, and Alan Edrick (the “Individual Defendants” and, together with OSI,
    11   “Defendants”) entered into a settlement (the “Settlement”) of the above-captioned
    12   derivative action (the “Action”), as reflected in the Stipulation. Plaintiffs now seek
    13   entry of the [Proposed] Order Preliminarily Approving Settlement, Directing Issuance
    14   of Notice, and Setting a Final Settlement Hearing (the “Preliminary Approval Order”),
    15   which: (1) grants preliminary approval of the Settlement; (2) approves the form and
    16   manner of giving notice of the Settlement; (3) schedules a hearing (the “Settlement
    17   Hearing”) at which the Court will consider granting final approval of the Settlement;
    18   and (4) preliminarily enjoins the Releasing Parties from commencing, instituting, or
    19   prosecuting any of the Released Claims. See Stipulation Exh. B. Co-Lead Counsel
    20   has conferred with counsel for the Defendants, and Defendants support entry of the
    21   Preliminary Approval Order.
    22   II.       BACKGROUND OF THE LITIGATION AND THE SETTLEMENT
    23             This is a shareholder derivative lawsuit against the members of OSI’s Board of
    24
               3
    25
           The Stipulation of Settlement is filed as Exhibit A to the Declaration of John
       T. Jasnoch in Support of Motion for Preliminary Approval of Settlement (the
       “Jasnoch Declaration”), filed contemporaneously herewith. All capitalized terms
    26 herein, unless otherwise defined, have the same meaning as set forth in the

    27
       Stipulation.

    28                                               4
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     1   Directors (the “Board”), alleging that the Individual Defendants breached their
     2   fiduciary duties as directors and/or officers of OSI by causing the Company to
     3   disseminate false and misleading statements to investors and the U.S. Government in
     4   violation of the federal securities laws and regulatory requirements governing private
     5   company contracts with government agencies.         OSI’s core business segment is
     6   Rapiscan Systems, Inc. (“Rapiscan”), a developer and manufacturer of x-ray security
     7   systems used primarily in airports.       The Company’s largest customers are the
     8   Department of Homeland Security (“DHS”) and the Transportation Security
     9   Administration (“TSA”).
    10         The gravamen of the shareholder derivative actions on behalf of OSI is that the
    11   Individual Defendants violated federal regulations, government contracts, and their
    12   fiduciary duties by failing to implement adequate internal controls. Specifically, the
    13   Individual Defendants caused OSI to conceal defects in its software for body scanners
    14   and use unapproved components manufactured in China in its baggage screening
    15   devices in violation of government contracts and regulations. As a result of these
    16   issues, DHS issued a Notice of Debarment to the Company on May 20, 2013.
    17   Subsequently, OSI and DHS entered into a 30-month Administrative Agreement
    18   relating to the issues described in the Notice of Debarment. OSI’s practices also gave
    19   rise to a securities fraud class action lawsuit, Roberti v. OSI Systems, Inc., Case No.
    20   13-cv-09174-MWF. The Action asserts claims for, among other things, breach of
    21   fiduciary duty and unjust enrichment under Delaware law.
    22         A.     Procedural History
    23         On April 15, 2014, Plaintiff Hagan commenced the first shareholder derivative
    24   action on behalf of OSI and against the Individual Defendants. The Hagan action
    25   asserted three claims: (1) breach of fiduciary duties for disseminating false and
    26   misleading information; (2) breach of fiduciary duties for failing to maintain adequate
    27   internal controls; and (3) unjust enrichment.
    28                                              5
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     1         On December 29, 2014, the City of Irving commenced the second shareholder
     2   derivative action on behalf of OSI. City of Irving’s complaint followed a shareholder
     3   demand for books and records pursuant to 8 Del. C. §220 that was made on February
     4   11, 2014. On February 26, 2015, following the denial of OSI’s motion to dismiss in
     5   the related securities fraud class action, the Court granted the California Plaintiffs’
     6   motion to consolidate the two derivative actions, appointed Hagan and City of Irving
     7   as Co-Lead Plaintiffs, and appointed Scott+Scott, Attorneys at Law, LLP, Bottini &
     8   Bottini, Inc., and The Shuman Law Firm as Co-Lead Counsel.             The California
     9   Plaintiffs filed a consolidated complaint on August 25, 2015.
    10         On July 20, 2015, Kocen commenced the third shareholder derivative action on
    11   behalf of OSI in the Delaware Chancery Court.         Kocen’s complaint followed a
    12   shareholder demand for books and records under 8 Del. C. §220 that was made on
    13   January 31, 2014 and asserted two claims against the Individual Defendants for breach
    14   of fiduciary duty.
    15         On February 10, 2016, Defendants filed a comprehensive motion to dismiss and
    16   in the alternative a motion to stay the California Action and a motion to dismiss the
    17   Delaware Action. The California Plaintiffs filed a detailed opposition on March 11,
    18   2016, and Defendants filed their reply on April 1, 2016. The Delaware Plaintiff filed
    19   his opposition on April 4, 2016, and Defendants filed their reply on May 3, 2016.
    20         B.     Settlement Negotiations
    21         The parties have engaged in extensive negotiations to resolve this Action.
    22   Beginning in June of 2015, the parties began discussions relating to a possible
    23   settlement through mediation and ultimately agreed to participate in a formal
    24   mediation session with the Honorable Layn R. Phillips (Ret.) (“Judge Phillips”).
    25         In September 2015, prior to mediation, Plaintiffs retained a corporate
    26   governance expert, Professor Daniel Morrissey of Gonzaga University School of Law
    27   (“Professor Morrissey”), to review the allegations in the complaint and provide
    28                                             6
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     1   recommendations on potential governance reforms that would benefit OSI and its
     2   shareholders. In consultation with Professor Morrissey, Plaintiffs drafted sets of
     3   settlement demands which included comprehensive governance reforms designed to
     4   remedy the breach of fiduciary duties and internal control issues at OSI. Plaintiffs’
     5   counsel also engaged in telephonic discussions and exchanged several more written
     6   proposals with counsel for OSI and the Individual Defendants.
     7         On March 18, 2016, while Defendants’ motion to dismiss and/or stay was
     8   pending, and after several exchanges of settlement proposals, the parties conducted an
     9   in-person, day-long mediation with Judge Phillips. At the mediation, the Parties
    10   reached agreement on a number of terms for corporate governance reforms, but no
    11   final settlement was reached. Working with Judge Phillips, the Parties continued their
    12   negotiations in the succeeding months and reached agreement on other material terms
    13   for the corporate governance reforms. On July 7, 2016, the Parties executed a term
    14   sheet for Settlement of the Derivative Actions. Plaintiffs notified the Court of the
    15   pendency of the Settlement on July 8, 2016. At the time the term sheet was executed,
    16   the Settling Parties had not discussed the amount of attorneys’ fees to be paid to
    17   Plaintiffs’ Counsel for the benefits conferred upon OSI through the Settlement. The
    18   Parties commenced discussion regarding the payment and amount of Plaintiffs’
    19   attorneys’ fees only after the negotiations on corporate governance therapeutics was
    20   concluded. In addition, all conversations concerning Plaintiffs’ attorneys’ fees and
    21   expenses occurred through Judge Phillips’ office.
    22         C.     Major Terms of the Proposed Settlement
    23         The proposed Settlement required OSI to significantly update and improve its
    24   corporate governance by implementing the corporate governance terms set forth in
    25   Exhibit A to the Stipulation of Settlement. The corporate governance terms of the
    26   settlement require OSI to, inter alia: (i) appoint a new independent director, with
    27   compliance-related experience in a highly regulated industry, by its next shareholder
    28                                            7
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     1   meeting, set to take place in December 2016; (ii) appoint a “Lead Independent
     2   Director” position to the board of directors; (iii) strengthen review and training in
     3   corporate governance policies for the CEO, CFO, General Counsel, Vice President of
     4   Compliance and all directors; (iv) enhance oversight of the Company’s compliance
     5   function; (v) revise the clawback and insider-trading policies; (vi) approve a
     6   Technology Committee Charter; (vii) amend its compensation policies and
     7   Compensation Committee Charter to include compliance as a factor in determining
     8   incentive compensation; and (viii) amend the Audit Committee Charter to require
     9   quarterly reports from the Vice President of Compliance on the adequacy and funding
    10   of OSI’s compliance program. Also, as part of the Settlement, Co-Lead Counsel
    11   would be entitled to seek a Fee and Expense Award in an amount up to $1.6 million
    12   and an incentive award for Plaintiffs of $5,000 each, which shall be paid from the Fee
    13   and Expense Award.
    14          Corporate governance measures like the ones achieved through the Settlement
    15   have formed the basis of settlements of countless stockholder derivative actions, as
    16   courts recognize that strong corporate governance is fundamental to a corporation’s
    17   well-being and success. Indeed,“[c]ourts have recognized that corporate governance
    18   reforms such as those achieved here provide valuable benefits to public companies.”
    19   In re NVIDIA Corp. Deriv. Litig., No. C-06-06110-SBA (JBS), 2008 WL 5382544, at
    20   *3 (N.D. Cal. Dec. 22, 2008); accord In re Rambus Inc. Deriv. Litig., No. C-06-3513
    21   JF (HRL), 2009 WL 166689, at *3 (N.D. Cal. Jan. 20, 2009) (recognizing that the
    22   “substantial benefits” of the derivative settlement which “provides long term remedial
    23   measures that are specifically designed to protect the shareholders.”).
    24   III.   THE  PROPOSED              SETTLEMENT            MERITS        PRELIMINARY
                APPROVAL
    25
                The Settlement creates significant, material benefits for OSI and is the result of
    26
         intense, arm’s-length negotiations by experienced counsel. As a result of the filing,
    27
         prosecution, and settlement of the Action, Defendants have agreed to implement
    28                                              8
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     1   meaningful corporate governance reforms designed to prevent the misconduct alleged
     2   in the Complaint. Accordingly, Plaintiffs respectfully submit that the Settlement is
     3   fair, reasonable, adequate, and should be preliminarily approved by the Court.
     4         It is well settled that “[c]ompromises of disputed claims are favored by the
     5   courts.” Williams v. First Nat’l Bank, 216 U.S. 582, 595 (1910); Officers for Justice v.
     6   Civil Serv. Comm’n. of San Francisco, 688 F.2d 615, 635 (9th Cir. 1982) (recognizing
     7   that the “settlement process [is] favored in the law”); United States v. McInnes, 556
     8   F.2d 436, 441 (9th Cir. 1977) (explaining that “there is an overriding public interest in
     9   settling and quieting litigation”). This is particularly true with respect to shareholder
    10   derivative litigation, “because such litigation is ‘notoriously difficult and
    11   unpredictable.’” Maher v. Zapata Corp., 714 F.2d 436, 455 (5th Cir. 1983).4 See also
    12   In re AOL Time Warner S’holder Deriv. Litig., No. 02 Civ. 6302(SWK), 2006 WL
    13   2572114, at *3 (S.D.N.Y. Sept. 6, 2006) (recognizing that public policy favors
    14   settlement of shareholder derivative litigation); Cohn v. Nelson, 375 F. Supp. 2d 844,
    15   852 (E.D. Mo. 2005) (settlement of shareholder derivative suits is “particularly
    16   favored”).
    17         A.     The Process and Standards Governing Preliminary Approval
    18         Federal Rule of Civil Procedure 23.1(c) provides that “[a] derivative action may
    19   be settled, voluntarily dismissed, or compromised only with the court’s approval.” In
    20   addition, Rule 23.1(c) mandates that “[n]otice of a proposed settlement . . . must be
    21   given to shareholders or members in the manner that the court orders.” This generally
    22   involves a two-step process. “[U]nder Ninth Circuit precedent, [the] Court must grant
    23   preliminary approval of a settlement, including approval of the notice to shareholders
    24   and the proposed method of notice, before having the final settlement hearing.”
    25   NVIDIA, 2008 WL 5382544, at *2; In re MRV Commc’ns, Inc. Deriv. Litig., No. CV
    26
         4
               Unless otherwise noted, internal citations are omitted and emphasis is added.
    27

    28                                                 9
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     1   08-03800 GAF (MANx), 2013 WL 2897874, at *2 (C.D. Cal. June 6, 2013)
     2   (“[A]pproval of a derivative action appears to be a two-step process, similar to that
     3   employed for approving class action settlements, in which the Court first determines
     4   whether a proposed settlement deserves preliminary approval and then, after notice of
     5   the settlement is provided to class members, determines whether final approval is
     6   warranted.”); True v. Am. Honda Motor Co., Inc., 2009 WL 838284, at *3 (C.D. Cal.
     7   Mar. 25, 2009) (citing Manual for Complex Litigation, §21.632 (4th ed. 2004)
     8   (“Manual”)); Greenspun v. Bogan, 492 F.2d 375, 382 (1st Cir. 1974) (preliminary
     9   approval and notice in a derivative action is designed to “fairly apprise” the company’s
    10   shareholders “of the terms of the proposed settlement and of the options that are open
    11   to them”).
    12         At this time, the Court need only preliminarily approve the Settlement by
    13   “conduct[ing] a cursory review of the terms of the parties’ settlement for the
    14   purpose of resolving any glaring deficiencies” before authorizing the dissemination
    15   of notice of the settlement. Alberto v. GMRI, Inc., 252 F.R.D. 652, 665 (E.D. Cal.
    16   2008) (granting preliminary approval of a proposed class action settlement). At the
    17   preliminary approval stage the Court’s review of the proposed Settlement is
    18   “limited to the extent necessary to reach a reasoned judgment that the agreement is
    19   not the product of fraud or overreaching by, or collusion between, the negotiating
    20   parties, and that the settlement, taken as a whole, is fair, reasonable and adequate
    21   to all concerned.” Officers for Justice, 688 F.2d at 625; accord Hanlon v. Chrysler
    22   Corp., 150 F.3d 1011, 1027 (9th Cir. 1998).
    23         This is a low threshold, requiring the Court to determine only “whether a
    24   proposed settlement is ‘within the range of possible approval’ and that notice should
    25   be sent to class members.” True, 2009 WL 838284, at *3; see also Manual at §13.14
    26   (“First, the [court] reviews the proposal preliminarily to determine whether it is
    27   sufficient to warrant public notice and a hearing. If so, the final decision on approval
    28                                             10
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     1   is made after the hearing.”). 5         A finding that a proposed settlement deserves
     2   preliminary approval is merely “the ground work for a future fairness hearing.”
     3   Alberto, 252 F.R.D. at 659 (citing Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc.,
     4   221 F.R.D. 523, 525 (C.D. Cal. 2004)).
     5          As demonstrated below, application of the relevant factors dictates that
     6   preliminary approval of the proposed Settlement should be granted.
     7          B.     The Settlement Satisfies the Standards for Preliminary Approval
     8          The Settlement should be preliminarily approved because it provides substantial
     9   benefits to OSI and its shareholders, is designed to prevent the “corporate trauma”
    10   alleged in the Complaint, was negotiated at arm’s length, informed by substantial
    11   investigation, and appropriately balances the risks of litigation against the benefits of
    12   Settlement. Accordingly, the Settlement falls within the range of possible approval.
    13                 1.      Great Weight Should Be Attributed to the Settling Parties’
                               Belief that the Settlement Is Fair and Reasonable
    14
                The Settlement meets the standards for preliminary approval. As a threshold
    15
         matter, the Settling Parties and their respective counsel believe that the proposed
    16
         Settlement before the Court represents a fair, reasonable, beneficial, and practical
    17
         resolution of highly uncertain litigation, and that its terms fairly account for the
    18
         risks and potential rewards of the claims being settled. Stipulation at 6-8. As the
    19
         Ninth Circuit has recognized, significant weight should be attributed to the parties’
    20
         belief that the litigation should be settled on the proposed terms, since “[p]arties
    21
         represented by competent counsel are better positioned than courts to produce a
    22
         settlement that fairly reflects each party’s expected outcome in litigation.” In re
    23
         Pac. Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995); see also In re First
    24
         Capital Holdings Corp. Fin. Prods. Sec. Litig., 1992 WL 226321, at *2 (C.D. Cal.
    25
            5
               See also Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982) (purpose of preliminary
    26   approval is “to ascertain whether there is any reason to notify the class members of the proposed
         settlement and to proceed with a fairness hearing”).
    27

    28                                                  11
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     1   June 10, 1992) (finding belief of counsel that the proposed settlement represented
     2   the most beneficial result for the class to be a compelling factor in approving
     3   settlement).
     4          Here, Plaintiffs and Plaintiffs’ Counsel have engaged in extensive
     5   investigation, document discovery, and other litigation efforts throughout the
     6   prosecution of the Action, including, among other things: (i) reviewing OSI’s press
     7   releases, public statements, U.S. Securities and Exchange Commission (“SEC”)
     8   filings, and securities analysts’ reports and advisories about the Company; (ii)
     9   reviewing media reports about the Company; (iii) researching the applicable law
    10   with respect to the claims alleged in the Actions and the potential defenses thereto;
    11   (iv) preparing and filing multiple derivative complaints; (v) conducting extensive
    12   damages analyses; (vi) participating in informal conferences with Defendants’
    13   Counsel regarding the specific facts of the cases, the perceived strengths and
    14   weaknesses of the cases, and other issues in an effort to facilitate negotiations and
    15   fact gathering; (vii) reviewing and analyzing hundreds of pages of documents
    16   relating to the claims produced by OSI in response to shareholder inspection
    17   demands; (viii) participating in a day-long mediation and several follow-up
    18   conferences; and (ix) negotiating this Settlement with Defendants. Stipulation at
    19   6-7.   In addition to documents Plaintiffs obtained from the 8 Del. C. §220
    20   shareholder inspection demand, the Defendants also provided Plaintiffs with over
    21   one thousand pages of internal Company documents that thoroughly described the
    22   Company’s existing compliance structure, as well as reviews from an independent
    23   third party retained by OSI under the Administrative Agreement to assist OSI in
    24   enhancing its compliance profile. The accumulation of the information discovered
    25   through the above efforts enabled Plaintiffs and Plaintiffs’ Counsel to be well
    26   informed about the strengths and weaknesses of the cases and to engage in
    27   effective settlement discussions with Defendants. Id.
    28                                            12
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     1         While Plaintiffs believe that the claims alleged in the Action are meritorious,
     2   continued litigation of the Action would be extremely complex, costly, and of
     3   substantial duration. Stipulation at Section II. Plaintiffs’ Counsel have also taken
     4   into account the uncertain outcome and the risk of any litigation, especially in
     5   complex cases such as the Action, as well as the difficulties and delays inherent in
     6   such litigation. Plaintiffs’ Counsel are also mindful of the inherent problems of the
     7   possible defenses to the claims and the requirement of establishing demand futility.
     8   Id. The Settlement eliminates these and other risks of continued litigation,
     9   including the very real risk of no recovery for OSI after years of additional
    10   litigation, while ensuring that the Company and its shareholders obtain immediate
    11   benefits. Id.
    12                   2.   The Proposed Settlement Was Reached Through Arm’s-
    13                        Length Negotiations with the Assistance of a Mediator and
                              Falls Well Within an Appropriate Range for Possible Final
    14
                              Approval
    15         Where “the Court finds that the Settlement is the product of arm’s length
    16   negotiations conducted by experienced counsel knowledgeable in complex . . .
    17   litigation, the Settlement will enjoy a presumption of fairness.” In re Austrian &
    18   German Bank Holocaust Litig., 80 F. Supp. 2d 164, 173-74 (S.D.N.Y. 2000). The
    19   settlement negotiations in this case have been fair, honest, and at arm’s length. The
    20   Settlement was only reached after extensive arm’s-length negotiations between
    21   counsel for the Parties. The negotiations included Plaintiffs sending Defendants a
    22   detailed set of settlement demands and counter-demands, a mediation session and
    23   continued assistance from the Hon. Layn Phillips (Ret.), a well-respected mediator
    24   who is well versed in the field of complex litigation, especially shareholder derivative
    25   litigation. This factor thus weighs in favor of preliminary approval of the proposed
    26   Settlement.     See, e.g., NVIDIA, 2008 WL 5382544, at *3 (derivative settlement
    27   preliminarily approved where the settlement “appears to be the result of good faith
    28                                             13
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     1   arm’s-length bargaining.”); see also In re Atmel Corp. Deriv. Litig., No. C 06-4592
     2   JF(HRL), 2010 WL 9525643, at *13 (N.D. Cal. Mar. 31, 2010) (noting that “Judge
     3   Phillips’ participation weighs considerably against any inference of a collusive
     4   settlement.”).
     5          As noted supra, the Settling Parties engaged in settlement discussions after they
     6   thoroughly evaluated the risks of continued litigation and had sufficient information to
     7   support the decision regarding the fairness, adequacy, and reasonableness of the
     8   Settlement. Counsel for all Parties were thus fully apprised of the strengths and
     9   weaknesses of the case when the Settlement was reached.                           The arm’s-length
    10   negotiations were also conducted by experienced counsel from different firms that
    11   each have extensive experience in shareholder derivative litigation. This fact militates
    12   in favor of preliminarily approving the Settlement. See, e.g., Nat’l Rural Telecomms.
    13   Coop., 221 F.R.D. at 528 (“‘Great weight’ is accorded to the recommendation of
    14   counsel, who are most closely acquainted with the facts of the underlying litigation.”);
    15   Atmel, 2010 WL 9525643, at *13 (“the involvement of multiple counsel from different
    16   firms suggests a lack of collusion.”).
    17          As set forth in the Stipulation, the Parties did not begin negotiating the amount
    18   of fees and expenses payable to Plaintiffs’ Co-Lead Counsel until after all the
                                                                                     6
    19   substantive terms of the Settlement were agreed upon.                           This factor further
    20   demonstrates the fairness of the arm’s-length Settlement.
    21
            6
               While the Court need not address fees until final approval, it bears mention that arm’s-
    22   length fee negotiations receive similar deference. See Hensley v. Eckerhart, 461 U.S. 424, 437
         (1983) (“Ideally, of course, litigants will settle the amount of a fee.”); Smiley v. Sincoff, 958 F.2d
    23   498, 501 (2d. Cir. 1992) (same); Ingram v. Coca-Cola Co., 200 F.R.D. 685, 695 (N.D. Ga. 2001)
         (courts give “substantial weight to a negotiated fee amount” where no evidence of collusion);.
    24   Even greater deference is warranted in derivative actions, where the corporate beneficiary
         negotiates the fee amount with the help of experienced counsel. See generally Rambus, 2009
    25   WL 166689, at *3-4 (“"Following Mills, courts consistently have approved attorneys’ fees and
         expenses in shareholder actions where the plaintiffs’ efforts resulted in significant corporate
    26   governance reforms.…”) (awarding $2 million fee where “the corporate governance reforms are
         of significant value to [the company]”).
    27

    28                                                    14
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     1
                      3.    The Settlement Confers a Substantial Benefit on OSI and
                            Easily Outweighs the Mere Possibility of Future Relief After
     2                      Protracted and Expensive Litigation
     3         “The principal factor to be considered in determining the fairness of a
     4   settlement concluding a shareholders’ derivative action is the extent of the benefit to
     5   be derived from the proposed settlement by the corporation, the real party in interest.”
     6   Atmel, 2010 WL 9525643, at *12. Corporate governance measures such as those
     7   achieved here provide valuable benefits to public companies. See Mills v. Elec. Auto-
     8   Lite Co., 396 U.S. 375, 395-96 (1970) (“[A] corporation may receive a ‘substantial
     9   benefit’ from a [stockholders’ action], justifying an award of counsel fees, regardless
    10   of whether the benefit is pecuniary in nature,” because “corporate therapeutics . . .
    11   furnish a benefit to all shareholders by providing an important means of enforcement
    12   of [a corporation’s director and officer obligations].”); see also NVIDIA, 2008 WL
    13   5382544, at *3; Rambus, 2009 WL 166689, at *3; In r Hewlett-Packard Co. S’holder
    14   Deriv. Litig., No. 3:12-cv-06003-CRB, 2015 WL 1153864, at *5 (N.D. Cal. Mar. 13,
    15   2015); MRV Commc’ns, 2013 WL 2897874, at *4. As a direct result of the litigation
    16   of the Actions, resulting in the Settlement, OSI has agreed to adopt and implement the
    17   Governance Measures. OSI’s Board of Directors has approved the Settlement, in
    18   which OSI acknowledges that the Governance Measures “confer a substantial and
    19   material benefit to OSO and Current OSI Shareholders.” Stipulation at Section 2.2.
    20   Moreover, the materiality of these benefits has been confirmed by Professor Daniel
    21   Morrissey, Plaintiffs’ corporate governance expert.       In his detailed declaration,
    22   submitted herewith (Exh. B to Jasnoch Decl.), Professor Morrissey explains the
    23   substantial nature of the Governance Measures, how they have been carefully drafted
    24   to directly address the specific wrongdoing alleged in the Action, how the Governance
    25   Measures substantially reduce the risk that the wrongdoing which occurred here
    26   (misrepresentations to Government agencies, OSI’s principal clients) would occur
    27   again, and how the Governance Measures will substantially improve the corporate
    28                                             15
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     1   governance at OSI and lead to an improved market capitalization and other benefits to
     2   OSI and its shareholders. See Declaration of Daniel Morrissey in Support of Plaintiffs’
     3   Unopposed Motion for Preliminary Approval of Settlement, ¶¶30-51; 69-71. As a
     4   result of these substantial and material benefits, the Settlement is an outstanding
     5   resolution for OSI of a case of substantial complexity and cost and it positions OSI and
     6   its shareholders to reap the long-term benefits of strong corporate governance.
     7          In addition, the fact that the governance reforms provided by the Settlement
     8   directly target the organizational and corporate compliance failures alleged in
     9   Plaintiffs’ Complaint strongly militates in favor of preliminary approval. See Sved v.
    10   Chadwick, 783 F. Supp. 2d 851, 864 (N.D. Tex.2009) (approving derivative litigation
    11   settlement because it “offers tangible, long-term remedial measures that are
    12   specifically designed to avoid the alleged missteps in [the company’s] past and protect
    13   shareholders as the company moves forward”); Mohammed v. Ells, No. 12-cv-1831-
    14   WJM-MEH, 2014 WL 4212687, at *3 (D. Colo. Aug. 26, 2014) (finding settlement
    15   fair and adequate and stating: “The fact that the settlement involves only corporate
    16   governance reforms (in addition to payment of attorneys’ fees) does not weigh against
    17   approval of the settlement.      To the contrary, the corporate governance reforms
    18   provided for as part of the settlement are specifically and appropriately designed to
    19   prevent the recurrence of the alleged misconduct that formed the basis for this
    20   action.”).
    21          C.    The Settlement Appropriately Weighs the Benefits Conferred Upon
    22                OSI with the Significant Risks of Continued Litigation
    23          Although it is not the role of the Court at this stage of the litigation to evaluate
    24   the merits of the Settlement, it is clear that there exist serious questions of law and fact
    25   that could negatively impact this case if it were litigated through to judgment and
    26   appeal. The uncertainties and vagaries of further litigation of the Action demonstrate
    27   that the proposed Settlement is within the range of approval, and that Plaintiffs’
    28                                               16
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     1   motion should be granted. Although Plaintiffs believe that their claims were
     2   meritorious, they recognize significant risks in continuing to prosecute the Action. For
     3   example, even if Defendants’ pending motions to dismiss were denied, liability was by
     4   no means a foregone conclusion. Continued litigation would be extremely complex,
     5   costly, and lengthy. Document discovery would need to be completed, depositions
     6   would need to be taken, experts would need to be designated, and expert discovery
     7   conducted. Defendants’ expected motions for summary judgment would have to be
     8   briefed and argued and a trial would have to be held. Even if liability were established
     9   at trial, the amount of recoverable damages would still have posed significant issues
    10   and would have been subject to further litigation. See, e.g., NVIDIA, 2008 WL
    11   5382544, at *3-4 (preliminarily approving the derivative settlement after balancing the
    12   risks faced by plaintiffs and defendants).
    13         Considering the difficulty and unpredictability of a lengthy and complex trial –
    14   where witnesses could suddenly become unavailable or the fact finder could react to
    15   the evidence in unforeseen ways –the benefits of the Settlement become all the more
    16   apparent. It is also clear that even a victory at trial is no guarantee that the judgment
    17   would ultimately be sustained on appeal or by the trial court in post-trial motions. The
    18   proposed Settlement eliminates these and other risks of continued litigation, including
    19   the very real risk of no recovery after several more years of litigation, while providing
    20   OSI with substantial benefits immediately.        See, e.g., Maher, 714 F.2d at 466
    21   (derivative settlement approved where “the parties’ conclusion, that any possible
    22   benefit to Zapata from pursuing the remaining causes of action could be more than
    23   offset by the additional cost of litigation, [wa]s based on an intelligent and prudent
    24   evaluation of their case”).
    25   IV.   THE PROPOSED NOTICE TO OSI SHAREHOLDERS IS ADEQUATE
    26         Federal Rule of Civil Procedure 23.1(c) provides that “[n]otice of a proposed
    27   settlement, voluntary dismissal, or compromise must be given to shareholders or
    28                                                17
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     1   members in the manner that the court orders.” The purpose of providing shareholders
     2   notice of a proposed settlement is to “apprise interested parties of the pendency of the
     3   action and afford them an opportunity to present their objections.” Villanueva v.
     4   Morpho Detection, Inc., No. 13-cv-05390-HSG, 2015 WL 4760464, at *7 (N.D. Cal.
     5   Aug. 12, 2015).
     6         In accordance with these requirements, Plaintiffs respectfully request that the
     7   Court approve the form and content of the Notice of Proposed Settlement of
     8   Derivative Action, Final Settlement Hearing, and Right to Appear (“Notice”)
     9   (Stipulation, Exh. B-1) and Summary Notice (Stipulation, Exh. B-2) as well as the
    10   method of notice dissemination to shareholders. With respect to form and content, the
    11   proposed Notice includes information about the nature and history of this action,
    12   Plaintiffs’ claims, the Parties’ reasons for the proposed Settlement, and the essential
    13   terms of the proposed Settlement. It also includes information regarding the $1.6
    14   million Fee and Expense Award Co-Lead Counsel will seek in connection with the
    15   Settlement. It sets forth the procedure for objecting to the proposed Settlement, and
    16   provides the date, time, and place of the Settlement Hearing. The Notice also provides
    17   contact information for the Parties’ counsel, and informs shareholders as to how they
    18   may obtain additional information. OSI’s shareholders are advised that if they fail to
    19   comply with the procedures and deadlines for filing objections, they will lose any
    20   opportunity to object to any aspect of the proposed Settlement, as well as the right to
    21   be heard. The Summary Notice contains much of the same material, as well as
    22   instructions on how shareholders may obtain additional information, including internet
    23   access to the Stipulation and Notice.
    24         Regarding the manner of notice, the Stipulation provides that OSI shall: (1)
    25   cause the Summary Notice to be published twice in the national edition of Investors’
    26   Business Daily; (2) post the Notice and the Stipulation on OSI’s Investor Relations
    27   webpage, which shall be maintained through the date of the Settlement Hearing; and
    28                                             18
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     1   (3) include a statement in each quarterly report (10-Q) filed with the SEC beginning
     2   on the date the Court grants preliminary approval through the date the Settlement
     3   becomes final, explaining that the Action has settled and received preliminary
     4   approval and directing stockholders to the Company’s website for additional
     5   information, including the Notice and Stipulation. In addition, Co-Lead Counsel shall
     6   cause the Notice to be posted on their respective websites. This is a robust notice
     7   program consistent with notice programs previously approved. See In re MRV, 2013
     8   WL 2897874, at *1. See also Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S.
     9   306, 314 (1950) (notice should be “reasonably calculated, under all the circumstances,
    10   to apprise interested parties of the pendency of the action and afford them an
    11   opportunity to present their objections”). Indeed, courts have approved notice
    12   programs consisting of only one or two of the components of the proffered notice
    13   program here. For example, both notice solely by publication, as well as notice by
    14   publication plus posting of settlement-related documents on a company’s website, has
    15   been held to satisfy due process standards in shareholder derivative action settlements.
    16   Arace v. Thompson, No. 08 Civ. 7905(DC), 2011 WL 3627716, at *4 (S.D.N.Y. Aug.
    17   17, 2011); In re PMC–Sierra, Inc. Deriv. Litig., No. 06-cv-05330, 2010 U.S. Dist.
    18   LEXIS 5818, at *4 (N.D. Cal. Jan. 26, 2010) (providing for notice of proposed
    19   derivative settlement by publication in Investor’s Business Daily and on company’s
    20   website).7
    21

    22
            7
               See, e.g., In re Activision, Inc. S’holder Deriv. Litig., Case No. 2:06-cv-04771-MRP-JTL,
    23   slip op. (C.D. Cal. May 13, 2008) (publication of the notice on company website and in public
         securities filing meets the requirements of Federal Rule of Civil Procedure 23.1 and due
    24   process), attached to Jasnoch Decl. as Exhibit C. In re KLA-Tencor Corp., S’holder Deriv.
         Litig., Case No. 5:06-cv-03445-JW, slip op. (N.D. Cal. Mar. 25, 2010) (same), attached to
    25   Jasnoch Decl. as Exhibit D; In re Ditech Networks, Inc. Deriv. Litig., Case No. 5:06-cv-05157-
         JF, slip op. (N.D. Cal. Oct. 23, 2009) (same), attached to Jasnoch Decl. as Exhibit E; In re Blue
    26   Coat Sys., Inc. Deriv.Litig., Case No. 06-cv-04809-JF-RS, slip op. (N.D. Cal. Nov. 12, 2010)
         (same), attached to Jasnoch Decl. as Exhibit F.
    27

    28                                                  19
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     1         Since the form of the Summary Notice and Notice, as well as the manner of
     2   dissemination, fulfill the requirements of due process and Rule 23.1, Plaintiffs
     3   respectfully request that the Court approve the proposed plan of notice.
     4   V.    PROPOSED SCHEDULE FOR FINAL APPROVAL
     5         Plaintiffs request that the Court: (i) grant preliminary approval of the
     6   Settlement; (ii) approve, as to form and content, the Notice and Summary Notice,
     7   annexed as Exhibits B-2 and B-2 to the Stipulation; (iii) find that the Notice complies
     8   with due process and shall constitute due and sufficient notice for all purposes to
     9   Current OSI Shareholders; and (iv) set a date for the Settlement Hearing. Plaintiffs,
    10   with consent of all Parties, propose the following schedule:
    11

    12    Summary Notice issued twice in national Within 20 business days after entry of
          edition of Investor’s Business Daily         the Preliminary Approval Order
    13    Posting of Notice on OSI’s website           Within 20 business days after entry of
    14                                                 the Preliminary Approval Order
          Filing of all papers in support of 28 calendar days prior to the Settlement
    15    Settlement, including the Fee Award          Hearing
    16    Last Day for Current OSI Shareholders to 14 calendar days prior to the Settlement
          comment on the Settlement                    Hearing
    17    Filing of all reply papers in support of the 7 calendar days prior to the Settlement
    18    Settlement, including responses to Hearing
          objections, if any
    19    Final Settlement Hearing                     Approximately 60 days after the Notice
    20                                                 Date
    21   VI.   CONCLUSION
    22         For the reasons stated above, Plaintiffs respectfully request that the Court grant
    23   preliminary approval to the proposed Settlement.
    24

    25
         DATED: December 9, 2016                 Respectfully submitted,
                                                 SCOTT+SCOTT,
    26
                                                 ATTORNEYS AT LAW, LLP
    27
                                                 /s/ John T. Jasnoch
    28                                             20
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                                              John T. Jasnoch (CA 281605)
     1                                        jjasnoch@scott-scott.com
                                              655 North Central Ave., 17th Floor
     2                                        Glendale, CA 91203
                                              Telephone: 213-985-1274
     3                                        Facsimile: 213-985-1278
     4                                        SCOTT+SCOTT,
                                              ATTORNEYS AT LAW, LLP
     5                                        Judith S. Scolnick
                                              jscolnick@scott-scott.com
     6                                        Donald A. Broggi
                                              dbroggi@scott-scott.com
     7                                        Thomas L. Laughlin IV
                                              tlaughlin@scott-scott.com
     8                                        The Helmsley Building
                                              230 Park Avenue, 17th Floor
     9                                        New York, NY 10169
                                              Telephone: 212-223-6444
    10                                        Facsimile: 212-223-6334
    11
                                              BOTTINI & BOTTINI, INC.
    12                                        Francis A. Bottini Jr. (SBN 175783)
                                              fbottini@bottinilaw.com
    13                                        Yury A. Kolesnikov (SBN 271173)
                                              ykolesnikov@bottinilaw.com
    14                                        7817 Ivanhoe Avenue, Suite 102
                                              La Jolla, CA 92037
    15                                        Telephone: 858-914-2001
                                              Facsimile: 858-914-2002
    16
                                              THE SHUMAN LAW FIRM
    17                                        Kip B. Shuman (SBN 145842)
                                              Kip@shumanlawfirm.com
    18                                        1 Montgomery Street, Suite 1800
                                              San Francisco, CA 94104
    19                                        Telephone: 303-861-3003
                                              Facsimile: 303-536-7849
    20
                                              THE SHUMAN LAW FIRM
    21                                        Rusty E. Glenn
                                              Rusty@shumanlawfirm.com
    22                                        600 17th Street, Suite 2800 South
                                              Denver, Colorado 80202
    23                                        Telephone: 303-861-3003
                                              Facsimile: 303-536-7849
    24                                        Co-Lead Counsel for Plaintiffs
    25

    26

    27

    28                                          21
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